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Attorney or Party Name, Address, Telephone & FAX Nos., State BarNo.& /FOR COURT USE ONLY
Email Address

Robert H Marcereau
Marcereau & Nazi 5
26000 Towne Centre Dr Ste 230

Foothill Ranch, CA 92610 FILED

949-531-6500 MAY -6 2815

CLERK U.S. BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

“ V BY: SLA A Deputy Clark
7 VA)

x Plaintiff or Attorney for Plaintiff

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

In re:

CASE NO.: 8:16—bk-10223-ES

Kent Wycliffe Easter CHAPTER: 7

ADVERSARY NUMBER: 8:16—ap—01114-ES
Debtor(s).

Kelli Peters

(See Attachment A for names of additional plaintiffs)

Versus Plainti(s) SUMMONS AND NOTICE OF STATUS
CONFERENCE IN ADVERSARY
Kent W Easter PROCEEDING [LBR 7004-1]

(See Attachment A for names of additional defendants)

Defendant(s)

TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a written response is
05/26/2016. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief

demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

Date: July 21, 2016

Time: 09:30 AM

Hearing Judge: Erithe A. Smith

Location: 411 W Fourth St., Crirm 5A, Santa Ana, CA 92701

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court—approved joint status report form is available on the court's website (LBR form F
7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016-1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.

KATHLEEN J. CAMPBELL
CLERK OF COURT

Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: April 26. 2016

By: "s/" Elizabeth Steinberg
Deputy Clerk

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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ATTACHMENT A
Names of plaintiffs and defendants

Desc

Plaintiff(s):

Kelli Peters
Bill Peters
Sydnie Peters

Defendant(s):

Kent W Easter
Kent Easter Consultin
Law Offices of Kent W Easter

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

ATTACHMENT A

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Centre Drive, Ste 230, Foothill Ranch, CA 92610

A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN
ADVERSARY PROCEEDING [LBR 7004-1] will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
04/26/2016 , |checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
beiow:

ecf.alert+Kosmala@titlexi.com; notices@becket-lee.com; claims@recoverycorp.com; ustpregion16.sa.ecf@usdoj.gov

[_] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) __ 04/26/2016 , | served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a deciaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Debtor: Kent Wycliffe Easter, 153 Baywood Dr., Newport Beach, CA 92660

Trustee: Weneta M Kosmala, 3 MacArthur Place, Suite 760, Santa Ana, CA 92707

Judge: Honorable Erithe A. Smith, United States Bankruptcy Court, Central District of California, Ronald Reagan

Federal Building and Courthouse, 411 West Fourth Street, Suite 5040 / Courtroom 5A, Santa Ana, CA 92701-4593

[_] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) , | served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

CT] Service informa mason continued on attached page

| declare under penalty of perjury under the laws of the United States that the foreget g’is true and correct.

04/26/2016 _ Nicole Lipowski Ni

Lak LTD
Date Printed Name — Signature? Oe ‘2D =

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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